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          Exhibit D-9
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

                                      :
SUSAN BYRNE,                          :
    Plaintiff                         :
                                      :      CIVIL CASE NO.:
v.                                    :      3:17-cv-01104 (VLB)
                                      :
YALE UNIVERSITY,                      :
     Defendant                        :      DECEMBER 30, 2019
                                      :

                 DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
           EVIDENCE OF PLAINTIFF’S ALLEGED WAGE-RELATED LOSSES
                    OR ANY REQUESTED EQUITABLE RELIEF

      Defendant Yale University (“Yale”) hereby moves in limine to exclude

argument and evidence related to installation of Plaintiff to a tenure position at

Yale. Even if this issue were appropriate for consideration by the jury, which Yale

contends it is not (see Motion in Limine to Exclude Evidence of Wage-Related

Losses and Any Equitable Relief), there is no factual predicate for Plaintiff to

request installation as a tenure professor at Yale, because she was never

considered by the Yale Tenure Appointments Committee (TAC), the Joint Boards

of Permanent Officers (JBPO), or by the Yale Corporation, which are all necessary

steps in the relevant tenure process. Without having gone through these steps

and without having passed each one, Plaintiff is not eligible for a tenure position

at Yale. Moreover, there is no case law to support a request to this Court to place

Plaintiff in a tenure position without her going through all of the required

procedural steps of Yale’s process. Accordingly, any argument or evidence related

to Plaintiff seeking, as a remedy, a tenure position at Yale should be excluded.
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   I.       Relevant Background

         Plaintiff, a former Associate Professor at Yale, asserts claims of retaliation,

negligent misrepresentation, and breach of contract in connection with her

department’s negative vote on her tenure case in February 2016.

   II.      Installation as a Tenured Professor

         Plaintiff is expected to offer argument and evidence that, but for the

Department of Spanish and Portuguese’s adverse vote on her tenure case, she

would have been granted tenure at Yale, and thus that, as a remedy if she prevails

on any of her claims, she should be installed as a tenured professor at Yale. This

anticipated position does not, however, have any basis in fact or law and instead

is pure speculation and an unprecedented leap beyond any reported case law.

         Plaintiff simply has no evidence – and cannot ask the jury or the Court to

speculate – as to what would have happened if her Department had voted positively

on her tenure case.       It is undisputed, per the express terms of Yale’s tenure

procedures, that, in the event of a positive Department vote, Plaintiff’s tenure case

would also have had to be approved by the TAC, the JBPO and the Yale

Corporation. (See Ex. RB, Tenure Steps, pp. 10-11; Ex. JC, March 30, 2015 Letter,

p. 2 (copies attached).) Plaintiff should not be permitted to ask the jury or court to

speculate as to what decision those bodies would have reached.                Because

Plaintiff’s demand for installation to a tenure position relies wholly on speculation




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and opinion, the Court should exclude all evidence of her request to be installed

as a tenured professor.1

        Neither the Court nor the jury has the power to trample Yale’s academic

freedom by installing Plaintiff to a tenure position, bypassing the levels of review

required by the Faculty Handbook. Indeed, no authority suggests that the Court or

jury has this power. The only case Plaintiff upon which relies is Brown v. Trustees

of Boston University, 891 F.2d 337 (1989), a 30-year old decision from another

jurisdiction with facts so distinct from the present case that it could not possibly

support imposition of tenure.

        In fact, the Brown case highlights why Plaintiff in this case must not be

installed to a tenure position. In Brown, the plaintiff had received a unanimously

positive vote in her department and also in her college’s tenure committee; she

then received the support of her Dean, albeit with some reservations, and of the

University-wide tenure committee. When the Assistant Provost and Provost

recommended a three-year extension, however, the plaintiff’s candidacy went back

to her department, which again voted unanimously in support of tenure; further,

the College’s tenure committee voted unanimously in support of plaintiff’s tenure

bid, and the University’s tenure committee also unanimously affirmed its original

recommendation of tenure.        Despite all of those approvals, the Provost



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    If the Court were to permit Plaintiff to present to the jury her request for

reinstatement, the Court should limit such request to seek reinstatement to the

position she held at the time she left Yale: Associate Professor on Term.




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recommended against tenure, and the case was referred to a three-member ad hoc

committee, which voted in favor of tenure. The Provost nonetheless reported to

the BU President that the ad hoc committee’s report confirmed his judgment that

plaintiff did not merit tenure, and the President thus recommended against tenure,

which recommendation the University Trustees accepted. On the jury’s finding of

sex discrimination, the District Court ordered the plaintiff’s reinstatement with

tenure.

      In complete contrast, here, Plaintiff’s tenure case failed at the very first

hurdle, as her Department voted against her tenure case. Her tenure case was

never presented to the TAC, JBPO or Yale Corporation, meaning that even if one

were to ignore the Department’s academic judgment—as Plaintiff effectively

requests—neither the Court nor the jury has any means of determining whether

Plaintiff met Yale’s tenure standards. In essence, if the Court were to award her

tenure, Plaintiff would be the only professor at Yale to have achieved tenure,

contrary to the express provisions of Yale’s tenure procedures, without any Yale

department, committee, or final decisionmaker having found her to have satisfied

Yale’s strict tenure standards, which include, inter alia, that the candidate “stand

among the foremost leaders in their fields throughout the world.” Compare Brown,

891 F.2d at 361 (noting the plaintiff has received “near unanimous endorsement by

colleagues within and without her department,” which “suggest[s] strongly that

there are no issues of collegiality or the like which might make the granting of

tenure inappropriate”).




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          Otherwise stated, if the jury or Court were to order Plaintiff’s installation to

a tenure position, the litigation process will have effectively—and impermissibly—

usurped Yale academic judgment and academic freedom, while also ignoring

Yale’s processes for tenure consideration and the potential for any “issues of

collegiality or the like,” as in Brown. See, e.g., Claudio v. Mattituck-Cutchogue

Union Free Sch. Dist., 2014 U.S. Dist. LEXIS 52852, *22-23 (E.D.N.Y. Apr. 16, 2014)

(“[c]ourts have been cautious to avoid intruding upon the administration of a

school district or university system, even in the context of remedying employment

discrimination”); Honadle v. University of Vermont & State Agric. College, 56 F.

Supp. 2d 419, 423 (D. Vt. 1999) (holding in advance of trial that ordering instatement

would be inappropriate).


          Accordingly, and consistent with Honadle, the Court should order that

instatement to a tenure position is not permissible and should preclude Plaintiff

from presenting argument or evidence regarding a request for instatement to a

tenure position.


   III.      Conclusion

          For all these reasons, Defendant Yale University respectfully moves to

exclude any argument or evidence concerning Plaintiff’s request for installation to

a tenure position at Yale.




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                            DEFENDANT,
                            YALE UNIVERSITY

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                            CERTIFICATION OF SERVICE

             I hereby certify that on December 30, 2019, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by operation

of the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                               /s/ David C. Salazar-Austin
                                               David C. Salazar-Austin




4821-1382-2896, v. 1




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